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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA

10   CHRIS LANGER,                                  )   Case No.: 2:19-CV-07218-CJC-GJS
                                                    )
11                 Plaintiff,                       )   NOTICE OF SETTLEMENT AND
                                                    )   REQUEST TO VACATE ALL
12      v.                                          )   CURRENTLY SET DATES
                                                    )
13   MYER PROPERTY LLC, a California                )
     Limited Liability Company; JERONIMO            )
14   GUTIERREZ; SOO GIL KIM; OK HYE                 )
                                                    )
15   KIM; and Does 1-10,                            )
                                                    )
16              Defendants.                         )
                                                    )
17
18           The plaintiff hereby notifies the court that a global settlement has been reached in
19   the above-captioned case and the parties would like to avoid any additional expense,
20   and to further the interests of judicial economy.
21           The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
22   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
23   parties, will be filed within 60 days.
24
25                                             CENTER FOR DISABILITY ACCESS
26   Dated: November 5, 2019                            /s/ Amanda Lockhart Seabock
                                                        Amanda Lockhart Seabock
27                                                      Attorney for Plaintiff
28


     Notice of Settlement                     -1-                 2:19-CV-07218-CJC-GJS
